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                             IN THE UNITED STATES DISTRICT
                         COURT FOR THE SOUTHERN DISTRICT OF
                                      NEW YORK



   SEAN BURKE and JAMES POMERENE,
   individually and on behalf of all others similarly       Civil Action No.: 1:20-cv-03104-CM
   situated,
                                                            AFFIDAVIT OF SCOTT R. DRURY
                                   Plaintiffs,              IN SUPPORT OF MOTION FOR
                                                            ADMISSION PRO HAC VICE
            v.                                              PURSUANT TO LOCAL CIVIL
                                                            RULE 1.3
   CLEARVIEW AI, INC. a Delaware
   Corporation; HOAN TON-THAT, an
   individual; RICHARD SCHWARTZ, an
   individual; and DOES 1 through 10, inclusive

                                   Defendants.


       Scott R. Drury, being duly sworn, hereby moves this Court for an admission pro hac vice

to represent Intervenor David Mutnick in this case. As grounds for said Motion, Mr. Drury

states as follows:

       1.        My full name is Scott Robert Drury. My business address is Loevy & Loevy, 311

N. Aberdeen, 3rd Floor, Chicago, Illinois, 60607.

       2.        I have never been convicted of a felony.

       3.        I have never been censured, suspended, disbarred or denied admission or

readmission by any court.

       4.        I am not presently, nor have I ever been, the subject of any disciplinary

proceedings from any court.
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       5.      Attached hereto as Exhibit 1 is a true and correct copy of the Certificate of

Admission to the Bar of Illinois, dated April 27, 2020, attesting that I am a member of the State

Bar of Illinois in good standing

       6.      I am familiar with the Local Rules of this Court

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 4, 2020




                              By:     __________________________
                                      SCOTT R. DRURY
                                      Loevy & Loevy
                                      311 N. Aberdeen St., 3rd Floor
                                      Chicago, Illinois 60607
                                      Telephone: (312) 243-5900
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